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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

TODD YUKUTAKE and DAVID CIVIL NO. 19-00578 JMS-RT
KIKUKAWA,
DECLARATION OF KENDALL
Plaintiffs, J. MOSER; EXHIBITS “A”-“S”

VS.
CLARE E. CONNORS, in her
Official Capacity as the Attorney

General of the State of Hawaii,

Defendant.

DECLARATION OF KENDALL J. MOSER

KENDALL J. MOSER, pursuant to 28 U.S.C. § 1746, declares that:

1. I am a deputy attorney general with the Department of the
Attorney General, State of Hawaii, and I have been assigned to represent
Defendant Clare E. Connors, in her Official Capacity as Attorney General of
the State of Hawaii in the above-entitled matter.

2. I have personal knowledge of the matters set forth herein and I
am competent to so testify.

3. Attached hereto as Exhibit “A” is a true and correct copy of

1907 Haw. Sess. Laws Act 85, §§ 1-8 at pp. 112-15.
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4. Attached hereto as Exhibit “B” is a true and correct copy of
1919 Haw. Sess. Laws Act 124, §§ 1-2 at pp. 166-67.

5. Attached hereto as Exhibit “C” is a true and correct copy of S.
Stand. Com. Rep. No. 388, in 1919 Senate Journal, at p. 1420.

6. Attached hereto as Exhibit “D” is a true and correct copy of
1923 Haw. Sess. Laws Act 156, §§ 1-2 at pp. 185-86.

7. Attached hereto as Exhibit “E” is a true and correct copy of
1927 Haw. Sess. Laws Act 206, §§ 1-31 at pp. 209-17.

8. Attached hereto as Exhibit “F’ is a true and correct copy of S.
Stand. Comm. Rep. No. 384, in 1927 Senate Journal, at pp. 1023-24.

9. Attached hereto as Exhibit “G” is a true and correct copy of
1933 Haw. Sess. Laws (Special Sess.) Act 26, §§ 1-17 at pp. 35-40.

10. Attached hereto as Exhibit “H” is a true and correct copy of H.
Stand. Comm. Rep. No. 89, in 1933 House Journal, at pp. 427-28.

11. Attached hereto as Exhibit “T” is a true and correct copy of
Revised Laws of Hawaii (“RLH”) §§ 2541 & 2542 (1935) at pp. 431-32.

12. Attached hereto as Exhibit “J” is a true and correct copy of
HRS §§ 134-2, 134-3, and 134-10 (1968) at pp. 581-88.

13. Attached hereto as Exhibit ““K” is a true and correct copy of

1988 Haw. Sess. Laws Act 275, §§ 1-6 at pp. 510-17.
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14. Attached hereto as Exhibit “L” is a true and correct copy of
HRS §§ 134-2, 134-3, and 134-10 (2011) at pp. 162-73.

15. Attached hereto as Exhibit “M” is a true and correct copy of
HRS §§ 134-2, 134-3, and 134-10 (Supp. 2018) at pp. 38-46.

16. Attached hereto as Exhibit “N” is a true and correct copy of
1990 Haw. Sess. Laws Act 195, §§ 1-7 at pp. 422-24.

17. Attached as Exhibit “O” is a true and correct copy of S. Stand.
Comm. Rep. No. 3058, in 1990 Senate Journal, at pp. 1242-43.

18. Based on my conversations with the deputy corporation counsel
assigned to represent former Defendant City and County of Honolulu in this
matter, it is my understanding that as part of the Plaintiffs’ settlement with
the City and County, the Honolulu Police Department Firearms Permit Unit
agreed to extend their hours of operation.

19. Attached as Exhibit “P” is a true and correct copy of 1921 Laws
of Missouri, H. B. 168 at pp. 691-93 that was downloaded from the internet.

20. Attached as Exhibit “Q” is a true and correct copy of 1923
General Acts of Arkansas, Act 430 at pp. 379-80 that was downloaded from

the internet.
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21. Attached as Exhibit “R” is a true and correct copy of 1926 Acts
and Resolves of Massachusetts, Chapter 395 at pp. 485-86 that was
downloaded from the internet.

22. Attached as Exhibit “S” is a true and correct copy of 1927
Public Acts of the Legislature of the State of Michigan, Act 372 at pp. 887-
93 that was downloaded from the internet.

I declare under penalty of law that the foregoing is true and correct.

DATED: Honolulu, Hawaii, May 28, 2021.

/s/ Kendall J. Moser
KENDALL J. MOSER

